                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                           No. 5:22-cv-491-BO-RN

 CRISTOBAL LOPEZ LOPEZ and                       )
 GILBERTO FLORES LOZANO, on behalf               )
 of themselves and all similarly situated        )
 persons,                                        )
                                                 )
                    Plaintiffs,                  )
                                                 )
                        v.                       )
                                                 )
 BOYKIN FARMS, INC., RHODES                      ) LEE DEFENDANTS’ MOTION
 FARMING, LLC, WILLIE C. BOYKIN, III,            )  FOR PARTIAL SUMMARY
 MATTHEW Z. RHODES, TONY D. LEE,                 )        JUDGMENT
 d/b/a LEE AND SONS FARMS, TONY                  )
 CAMERON LEE, d/b/a LEE AND SONS                 )
 FARMS, and CLINT LEE, d/b/a LEE AND             )
 SONS FARMS,                                     )
                                                 )
                 Defendants.                     )
 ________________________________________        )

       Defendants Tony D. Lee, Tony Cameron Lee, and Clint Lee (all also “d/b/a Lee

and Sons Farms” and collectively the “Lee Defendants”), by and through the

undersigned counsel and pursuant to Rule 56 of the Federal Rules of Civil Procedure,

submit this motion for partial summary judgment, and move this Court for an Order

entering partial summary judgment in their favor for the following reasons:

       (1)    Because Plaintiffs Cristobel Lopez Lopez and Gilberto Flores Lozano

(collectively “Plaintiffs”) and the Opt-in Plaintiffs Orlando Eliseo Rebolloza Gutierrez

and Juan Antonio Torres Rebolloza did not work for any Defendant in 2022, any claim

by them, or on behalf of the putative class, for issues allegedly occurring in 2022 must

fail for lack of standing.




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      (2) Because Plaintiffs did not file their Complaint until December 2, 2022,

based on the date of Plaintiffs’ first week of employment at Lee & Sons Farms,

Plaintiffs’ Fair Labor Standards Act (“FLSA”) claims that they were not reimbursed

in 2019 or 2020 for all their H-2A related inbound travel and visa expenses during

their first workweek, resulting in average hourly pay below the statutory minimum

wage are barred by the two-year statute of limitations.

      (3) Based on the dates they filed their opt-in notices for the collective FLSA

action, the FLSA claims by Opt-in Plaintiffs Orlando Eliseo Rebolloza Gutierrez and

Juan Antonio Torres Rebolloza’s are barred in their entirety by the two-year statute

of limitations.

      (4) Based on the date he filed his opt-in notice for the collective FLSA action,

Opt-in Plaintiff Jorge Alberto Rebolloza Garcia’s FLSA claims for 2021 are barred by

the two-year statute of limitations.

      (5) Because Plaintiffs did not file their Complaint until December 2, 2022, any

claim by Plaintiffs for violation of the FLSA for failure to compensate them in 2019

or 2020 at the minimum wage rate is barred by the two-year statute of limitations.

      (6) Because Plaintiffs did not file their Complaint until December 2, 2022, any

cause of action under the NCWHA by Plaintiffs accruing prior to December 2, 2020

is barred by the applicable two-year statute of limitations.

      (7) Because Plaintiffs did not file their Complaint until December 2, 2022, any

cause of action under the NCWHA by any putative class member accruing prior to

December 2, 2020 is barred by the applicable two-year statute of limitations.




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      (8) The Lee Defendants never sold or charged Plaintiffs or any other H-2A

worker for meals, meal plans, food, or drinks. Therefore, any claim arising from

allegations that the Lee Defendants charged Plaintiffs or the putative class for meals,

meal plans, or food fails as a matter of law.

      (9) The Plaintiffs’ individual FLSA claims for compensation for time spent

driving to and from the fields or other work locations at the start or end of the day

fail because that time is not compensable under the FLSA.

      (10) Clint Lee is not an employer of either Plaintiff or the Opt-In Plaintiffs

within the meaning of the FLSA and NCWHA so all claims against him must fail.

      In addition, the Lee Defendants rely on the concurrently filed Memorandum of

Law in Support of the Lee Defendants’ Motion for Partial Summary Judgment, the

Lee Defendants’ Statement of Material Facts in support of Summary Judgment, as

well as the Appendix to the Statement of Material Facts with deposition excerpts,

declarations and exhibits attached.

      WHEREFORE, Defendants Tony D. Lee d/b/a Lee and Sons Farms, Tony

Cameron Lee d/b/a Lee and Sons Farms, and Clint Lee d/b/a Lee and Sons Farms

pray that partial summary judgment be granted in their favor pursuant to Federal

Rule of Civil Procedure 56.




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 Respectfully submitted, this the 13th day of February, 2025.

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GILBERTO FLORES LOZANO, on behalf              )
of themselves and all similarly situated       )
persons,                                       )
                                               )
                  Plaintiffs,                  )   CERTIFICATE OF SERVICE
                                               )
                      v.                       )
                                               )
BOYKIN FARMS, INC., et al.,                    )
                                               )
                Defendants.                    )
________________________________________

      The undersigned hereby certifies that on February 13, 2025, the foregoing Lee
Defendants’ Motion for Partial Summary Judgment was electronically filed with the
Clerk of the United States District Court for the Eastern District of North Carolina
using the CM/ECF system which will send notification of this filing and an electronic
copy of same to all counsel of record as follows:

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